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ESTHER ISRAEL

Pro se plaintiff

757 South 900 East, #B

Salt Lake City, UT 841()2
Telephone: (801)671-5474
Ernail: estherisrael@yahoo.corn

 

 

IN THE UNITED STATES DSITRICT COURT
lN AND FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 

ESTHER lSRAEL, MOTION TO FILE SUR-REPLY
AND EXTENSION OF Tll\/lE
Plairltiff, TO FILE SUR-REPLY
v. l‘ '

Case No. 2:15-cv-00741
UNIVERSITY OF UTAH, DONALD

STEVEN STRASSBERG, ]ORDAN ]udge Ted SteWart
ELlZABETH RULLO, ]ULIA l\/lagistrate ]udge Paul M. Warner
MACKARONIS, KELLY KINNISH
and MICHAEL MINER.

Defendants.

 

Pro se plaintiff Esther lsrael, pursuant to Federal Rule of Civil Procedure
6(b) (1) (A) and DUCiv-7-l(a), moves the Court to file a Sur-Reply to Defendants'
Reply Memorandurn in Support of T heir l\/lotion for Summary ]udgrnent, up to and
including ]une 14, 2018.

The deadline is currently ]une 12, 2018, Which is 14 days from Whén(
Defendants filed their Reply l\/lemorandum in Support of their Motion for Surnrnary
]udgment, provided to Plaintiff on l\/lay 29, 2018. DUCivR 7-1(b) (3)(B); Fed. R.. Civ.
P. 6(d). Plaintiff requests a Z-day extension, up to and including ]une 14, 2018, to

file her sur*reply.

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Good cause exists for the motion. Plaintiff Would like to reply to Defendants’
Reply Memorandum in Support of the Motion for Summary ]udgment. As pro se
litigant, it takes me longer to complete legal documents and l need more time to
complete my response brief. Plaintiff respectfully requests that the Court grant her
motion to file a sur-reply and for the extension of time up to and including ]une 14,
2018. A proposed order Will be filed concurrently.

DATED: ]une '\ ,2018.

/S/ &MM,Q.A)L@J<_O
ESTHER ISRAEL
Pro Se Plclintl`]?c

CERTIFICATE OF SERVICE

l certify that on ]une 1, 2018,1 electronically emailed the foregoing Motion to File Sur-
Reply and Extension of Time to File Sur-Reply to the following: Ker J. Kaiser,
Assistant Utah Attorney General, Attorney for Defendants kkaiser@agutah.gov

/S/ Pt>ww\QQ/MQVKD

ESTHER ISRAEL Pro Se Plaintiff

